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UNITED STATES DISTRICT COURT                                                                                      JOSEPH & NORINSBERG, ESQ., PLLC
SOUTHERN DISTRICT OF NEW YORK                                                                                          110 E. 59th Street, Suite 2300
                                                                                                                         New York, New York 10022




Plaintiff / Petitioner:                                                                            AFFIRMATION OF SERVICE
Juan Igartua, on behalf of himself and all others similarly                                                    Case No:
situated,                                                                                                  1:24-cv-06576-JLR
Defendant / Respondent:
Frass Box Cannabis LLC,                                                                            Date Filed: September 03, 2024




State of New York, County of KINGS) ss.:

The undersigned being duly sworn, Aﬃrms and states the following; deponent is not a party herein, is over 18 years of age and resides in the
State of New York. That on Tuesday, December 10, 2024 AT 03:01 PM AT 190 EAST 72ND STREET, SUITE 19B, NEW YORK, NY 10021, dwelling
place / usual place of abode / actual place of business, deponent served the within SUMMONS IN A CIVIL ACTION AND COMPLAINT on Frass
Box Cannabis LLC c/o Daphne Borowski,


         Individual: by delivering a true copy of each to said defendant, personally; deponent knew the person so served to be the person
         described as said defendant therein.
         Corporation: a defendant, therein named, by delivering a true copy of each to personally, deponent knew said corporation so served
         to be the corporation described, and knew said individual to be thereof.
 X       Suitable Person: a defendant therein named, by delivering thereat, a true copy of each to OREST "DOE" (NO LAST NAME PROVIDED),
         FRONT DESK SECURITY, a person of suitable and discretion. and who accepted service in accordance with his everyday duties.
         Aﬃxing to Door: by aﬃxing a true copy of each to the door thereof, deponent was unable with due diligence to find defendant, or a
         person of suitable age or discretion thereat, having called thereon; at
         Mailing: Deponent also enclosed a copy of same, in a postpaid sealed wrapper properly addressed to said defendant at defendant's
         last known residence, and depositing said wrapper in a post oﬃce, oﬃcial depository under the exclusive care and custody of the
         United States Post Oﬃce, department, with New York State. The wrapper bore the legend “Personal and Confidential” and did not
         indicate on the outside thereof, by return address or otherwise, that the communication was from an attorney or concerned an action
         against the Defendant. Mailed on                        .
         Military Service: I asked the person spoken to whether defendant was in active military service of the United States or of the State of
         New York in any capacity whatever and received a negative reply. Recipient wore ordinary civilian clothes and no military uniform. The
         source of my information and the ground of my belief are the conversations and observations above narrated. Upon information and
         belief I aver that the defendant is not in the military service of New York State or of the United States as that term is defined in either
         the State or in the Federal statutes.

Description:
Age: 30-45                         Ethnicity:     Caucasian                              Gender:    Male                       Weight:   Over 200 lbs
Height:     5'10"                         Hair:    BBMEJOH                      Eyes:    N/A                       Relationship:    N/A
 ther:
Other:     #FBSE  See supporting photo attached.
           #FBSE




JEREMIAH CHARLES                                                              I aﬃrm this 12th day of DECEMBER, 2024, under the penalties of
LIC# 2100727-DCA                                                              perjury under the laws of New York, which may include a fine or
PEAK PROCESS SERVERS, INC.                                                    imprisonment, that the foregoing is true, and I understand that this
DCA Lic# 2079779-DCA                                                          document may be filed in an action or proceeding in a court of law.
48 Davis Avenue, Port Washington NY 11050
Tel: 516.822.7070
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